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Case 3:16-cV-05794-RBL Document 137 Filed 03/06/18 Page 1 of 3

THE HONORABLE RONALD B. LE|GHTON
Trial Date: l\/larch 12, 2018

UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF VVASH|NGTON

AT TACOl\/lA
l\/lON|QUE CHARLENE TlLLl\/lAN and
ER|C BRANCH,
NO. 3:16-cV-05794-RBL
Plaintiffs,
NOT|CE TO ATTEND TR|AL
vs.

JARED W|LL|AI\/lS and THE C|TY OF
TACOI\/|A,

Defendants.

 

 

NOT|CE lS HEREBY GlVEN that Defendants require attendance of the
following persons upon trial of this matter beginning l\/larch 12, 2018, in the
courtroom of the l-lonorab|e Rona|d B. Leighton, Room B, United States District Court,
VVestern District, 1717 Pacific Avenue, Tacoma, Washington:

Monique Char|ene Til|man

Eric Branch

This Notice to Attend Tria| compels the attendance of the individuals identified

above With the same force and effect as a subpoena.

NOT|CE TO A`I`l'END TRIAL - Page 1 of 3 Tacoma City Attomey
- (3:16-cv-05794-RBL) Civil Division
747 Market Street, Room 1120
Tacoma, WA 98402-3767
(253) 591-5885 /Fax 591-5755

 

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Case 3:16-cV-05794-RBL Document 137 Filed 03/06/18 Page 2 of 3

DATED this §§ day of l\/larch, 2018.

WlLLlAl\/l C. FOSBRE, City Attorney

By: /s/ Jean Homan
JEAN P. HOl\/IAN
WSB #27084
Deputy City Attorney
Attorney for Defendants

NOT|CE TO ATl'END TR|AL - Page 2 of 3 Tacoma City Attorney
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Case 3:16-cv-05794-RBL Document 137 Filed 03/06/18 Page 3 of 3

DECLARAT|ON OF SERV|CE
l hereby certify that on l\/larch 66,2018, l cause a true and correct copy of the

above Notice to Attend Trial to be served upon the following:

P|aintiffs’ Counse|

Vito de la Cruz,

Tamaki Law Firm

2200 112th Avenue NE, Suite 200
Be|levue, WA 98004
vito@tamakilaw.com

P|aintiffs’ Co-Counse|

Richard H. Friedman Sean J. Gamble

Friedman | Rubin Friedman | Rubin

1126 High|and Avenue 51 University Street, Suite 201
Bremerton, WA 98337 Seatt|e, WA 98101

rfriedman@friedmanrubin.com sgamb|e@friedmanrubin.com

l L,
DATED this \Q$(Rday of l\/larch1 2018, at Tacoma, Washington.

/s/ Staci Black

Staci Black, Paralegal
Tacoma City Attorney’s Office
747 l\/larket Street, Suite 1120
Tacoma, WA 98402

(253) 591-5268

Fax: (253) 591-5755
sblack@ci.tacoma.Wa.us

NOT|CE TO A`ITEND TR|AL - Page 3 Of 3 Tacoma City Attorney
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